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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 MICHAEL L. TAYLOR and PETER M.
 TAYLOR,
        Petitioners,

                v.
                                                          Case No. 4:20-cv-11272-IT
 JEROME P. MCDERMOTT, Sheriff, Norfolk
 County, Massachusetts, and JOHN
 GIBBONS, United States Marshal, District of
 Massachusetts,

        Respondents.


 MEMORANDUM IN SUPPORT OF VERIFIED SECOND EMERGENCY PETITION
FOR HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241 AND INJUNCTIVE RELIEF

       Petitioners Michael and Peter Taylor’s Verified Second Emergency Petition for Habeas

Corpus Pursuant to 28 U.S.C. § 2241 and Injunctive Relief (Dkt. 47) asks the Court to review

Magistrate Judge Cabell’s certification ruling and the Deputy Secretary of State’s apparent

authorization of the extradition of the Taylors to Japan. The Deputy Secretary of State’s decision

violates the U.S.-Japan Extradition Treaty, other treaty obligations of the United States and the

statutes and regulations thereunder, and the U.S. Constitution. As set forth herein and in their

previous submissions, the facts alleged by Japan do not constitute the criminal offense on which

Japan bases its extradition request, thus there is not probable cause that the Taylors committed an

offense for which they may be extradited under the Treaty. Judge Cabell’s decision erroneously

gave absolute deference to Japan’s assertions with respect to the putative crime for which Japan

seeks the Taylors’ extradition and improperly failed to consider any of the arguments, evidence

and authority put forth by the Taylors contradicting Japan’s conclusory and self-serving assertions.

Neither the State Department nor the courts should be a rubber stamp for extradition demands
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made by foreign nations, especially where an extraditee raises substantial questions as to the legal

merits of the theory underlying the request for extradition. If the Deputy Secretary and Judge

Cabell’s decisions are allowed to stand, the Taylors will have been arrested and forcibly transferred

to a foreign nation to be prosecuted there all without the executive or judicial branch of the U.S.

Government giving any meaningful consideration to whether such a course of action is lawful or

even within the scope of the U.S.-Japan Extradition Treaty.

       Further, the Deputy Secretary’s decision is also unlawful because, if extradited to Japan,

the Taylors will be held in conditions that would never be permitted by any U.S. court and

subjected to lengthy interrogation without the presence of counsel, mental and physical torture,

and a heightened risk of contracting COVID-19 (which would almost certainly be life-threatening

to Michael Taylor). The Deputy Secretary’s authorization of the Taylors’ extradition thus violates

the United Nations Convention Against Torture (“CAT”), the International Covenant on Civil and

Political Rights (“ICCPR”), and the Constitution and the record produced to date does not even

establish that the Secretary of State complied with any of the specific, mandatory requirements of

the Foreign Affairs Reform and Restructuring Act of 1998 (“FARRA”) and State Department

regulations.

       The Taylors, therefore, respectfully request that the Court grant their petition for a writ of

habeas corpus and order their release from custody.

                                          ARGUMENT

I.     THE DEPUTY SECRETARY OF STATE’S DECISION TO EXTRADITE THE
       TAYLORS VIOLATES THE LAWS OF THE UNITED STATES

       Although habeas review of extradition decisions may be narrow, the Supreme Court has

long recognized that “[t]here is no executive discretion to surrender [an individual] to a foreign

government, unless that discretion is granted by law.” Valentine v. U.S. ex rel. Neidecker, 299



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U.S. 5, 9 (1936). Accordingly, even if the Secretary of State has the legal authority to make the

choice to extradite the Taylors to Japan (which, for the reasons set forth in Section II, the Secretary

does not), the Secretary’s actions (including his decision to extradite an individual or not) must

comply with U.S. law, including the Constitution and any applicable statutes, regulations and

treaties.

        At the very least, this means that in deciding to extradite a person, the State Department

must comply with its own statutory and regulatory obligations. Trinidad y Garcia v. Thomas, 683

F.3d 952, 957 (9th Cir. 2012) (en banc). In addition, numerous courts have acknowledged that

habeas corpus review may be available to determine whether the Secretary of State’s extradition

decisions violate constitutional rights. Venckiene v. United States, 929 F.3d 843, 861 (7th Cir.

2019); In re Burti, 737 F.2d 1477, 1487 (7th Cir. 1984); Prushinowski v. Samples, 734 F.2d 1016,

1019 (4th Cir. 1984); Escobedo v. United States, 623 F.2d 1098, 1104-05 (5th Cir. 1980); Peroff

v. Hylton, 563 F.2d 1099, 1102 (4th Cir. 1977); Gallina v. Fraser, 278 F.2d 77, 79 (2d Cir. 1960);

Mirela v. United States, 416 F. Supp. 3d 98, 113-24 (D. Conn. 2019).

        Here, the reported decision by the Deputy Secretary of State choosing1 to extradite the

Taylors to Japan would subject the Taylors to oppressive and punitive practices in violation of the

United Nations Convention Against Torture (“CAT”), the International Covenant on Civil and



1
  We note that the action by the State Department is very much a choice in this case. Article V of
the U.S-Japan Extradition Treaty makes clear that neither country is obligated to extradite its own
citizens even if the Treaty permits it, a privilege Japan has not hesitated to exercise in refusing
U.S. requests for the extradition of Japanese nationals charged with far more serious crimes
involving far more serious harm (including loss of life). Indeed, in the underlying prosecution of
Messrs. Ghosn and Kelly, Japan affirmatively worked around the Treaty by not requesting
extradition in a straight-forward fashion, but instead enlisting rival Nissan officials in a ruse to lure
Mr. Kelly from his home in Tennessee to Japan under false pretenses so that it could arrest and
prosecute him. Despite being under no legal obligation whatsoever, the Deputy Secretary of State
apparently believes the U.S. should reward Japan’s disregard of the Treaty by assenting to a
permissive request to extradite the Taylors.


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Political Rights (“ICCPR”), and other fundamental notions of due process (including the right to

a speedy trial, the right not to be subjected to lengthy and coercive interrogation in the absence of

counsel, protection against cruel and unusual punishment, the presumption of innocence, and the

right against self-incrimination). Accordingly, the Deputy Secretary of State’s choice to extradite

the Taylors violates the Constitution, laws and treaties of the United States.

       A.      The Court Has Jurisdiction to Consider Petitioners’ Claims

       The United Nations Convention Against Torture (“CAT”) is a treaty signed and ratified by

the United States, 136 Cong. Rec. 36,198 (1990), and implemented by Congress as part of the

Foreign Affairs Reform and Restructuring Act of 1998 (“FARRA”), 8 U.S.C. § 1231 note. The

statute declares it to be “the policy of the United States not to … extradite … any person to a

country in which there are substantial grounds for believing the person would be in danger of being

subjected to torture.” Id. Article 16 of the CAT further prohibits “other cruel, inhuman or

degrading treatment.” FARRA requires that “the appropriate agencies … prescribe regulations to

implement the obligations of the United States[.]” Id.

       The Department of State has adopted regulations requiring that, “[i]n each case where

allegations relating to torture are made …, appropriate policy and legal offices review and analyze

information relevant to the case in preparing a recommendation to the Secretary as to whether or

not to sign the surrender warrant.” 22 C.F.R. § 95.3(a). An extraditee may be surrendered only

after the Secretary makes a determination regarding possible torture. Id. § 95.2-3. Specifically,

before extradition can occur, the Secretary must consider the extraditee’s torture claim and find it

not “more likely than not” that the extraditee will face torture. Id. § 95.2; see also Trinidad y

Garcia, 683 F.3d at 957.




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       “CAT and its implementing regulations are binding domestic law, which means that the

Secretary of State must make a torture determination before surrendering an extraditee who makes

a CAT claim.” Trinidad y Garcia, 683 F.3d at 956 (emphasis in original). Further, “FARRA and

its regulations generate interests cognizable as liberty interests under the Due Process Clause[.]”

Id. Accordingly, an extraditee has a Due Process right that “entitles him to strict compliance by

the Secretary of State with the procedure outlined in the regulations,” a right which the courts have

the power to enforce through habeas jurisdiction, the Administrative Procedure Act, and/or under

“the Constitution itself.” Id. at 957; see also Cornejo-Barreto v. Seifert, 218 F.3d 1004, 1016-17

(9th Cir. 2000) (“An extraditee ordered extradited by the Secretary of State who fears torture upon

surrender … may state a claim cognizable under the APA that the Secretary of State has breached

her duty, imposed by the FARR Act, to implement Article 3 of the Torture Convention.”).2

       There is room to debate the precise scope of the Court’s review of the Deputy Secretary’s

decision (see infra at Section I.C), but judicial review is available to ensure the Secretary’s

compliance with domestic law, including the Secretary’s own statutory and regulatory obligations.

Trinidad y Garcia, 683 F.3d at 956; Cornejo-Barreto, 218 F.3d at 1013-15; cf. Venckiene, 929

F.3d at 861; Mirela, 416 F. Supp. 3d at 113-24.

       The government contends that judicial review of the State Department’s decision and its

compliance with CAT and FARRA is foreclosed by FARRA and/or the REAL ID Act. Dkt. 50 at

12-13. But “[n]either the REAL ID Act nor FARRA repeals all federal habeas jurisdiction[.]”



2
  Four years later, another panel of the Ninth Circuit subsequently concluded that the panel’s
discussion of judicial review in Cornejo-Barreto was dicta and reached a contrary conclusion.
Cornejo-Barreto v. Siefert, 379 F.3d 1075, 1082, 1088-89 (9th Cir. 2004). The Ninth Circuit
ordered en banc review but, before the en banc court could rule, Mexico withdrew its extradition
request, thus mooting the case. The Ninth Circuit thereafter vacated the second, 2004 panel
opinion, but left the original 2000 panel opinion in place. Cornejo-Barreto v. Siefert, 389 F.3d
1307 (9th Cir. 2004).


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Trinidad y Garcia, 683 F.3d at 956 (internal citations omitted). The Suspension Clause of the

Constitution expressly preserves the writ of habeas corpus, U.S. Const. art. I, § 9, cl. 2, and 28

U.S.C. § 2241 makes the writ of habeas corpus available to all persons “in custody in violation of

the Constitution or laws or treaties of the United States.” 28 U.S.C. § 2241(c)(3). Accordingly,

given the constraints of the Suspension Clause, habeas jurisdiction may not be repealed by

implication, Felker v. Turpin, 518 U.S. 651, 660-61 (1996), and there is a strong presumption

against construing statutes to repeal habeas jurisdiction. INS v. St. Cyr, 533 U.S. 289, 298 (2001).

Any limitation of habeas review thus must be by specific and express command. The Supreme

Court has required that, before concluding a law has actually repealed habeas relief, (1) the statute

must contain a “particularly clear statement” of its intention to repeal habeas jurisdiction, Demore

v. Kim, 538 U.S. 510, 517 (2003); and (2) even where a sufficiently clear statement exists, the

courts must determine whether “an alternative interpretation of the statute is ‘fairly possible[.]’”

St. Cyr, 533 U.S. at 299-300 (quoting Crowell v. Benson, 285 U.S. 22, 62 (1932)).

       The First Circuit and various other courts of appeal have previously held that FARRA lacks

sufficient clarity to meet the “particularly clear statement” requirement for depriving the courts of

habeas jurisdiction. Saint Fort v. Ashcroft, 329 F.3d 191, 200-02 (1st Cir. 2003) (“FARRA does

not expressly refer to 28 U.S.C. § 2241 or to habeas review and we would not imply an intent to

repeal habeas jurisdiction from silence.”); see also Trinidad y Garcia, 683 F.3d at 956 (en banc)

& 959 (Thomas, C.J., concurring); Wang v. Ashcroft, 320 F.3d 130, 140-42 (2d Cir. 2003); but see

Omar v. McHugh, 646 F.3d 13 (D.C. Cir. 2011); Mironescu v. Costner, 480 F.3d 664, 670-73 (4th

Cir. 2007). FARRA provides, in relevant part, that:

       Notwithstanding any other provision of law, and except as provided in the
       regulations [the Secretary of State promulgates pursuant to the Act], no court shall
       have jurisdiction to review the regulations adopted to implement this section, and
       nothing in this section shall be construed as providing any court jurisdiction to



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        consider or review claims raised under the [CAT] or this section, or any other
        determination made with respect to the application of the policy set forth in
        subsection (a), except as part of the review of a final order of removal pursuant to
        [8 U.S.C. § 1252].

FARRA § 2242(d) (codified at 8 U.S.C. § 1231 note). Nothing in the foregoing purports to repeal

federal habeas jurisdiction under § 2241. Rather, the section simply states it is not conferring

jurisdiction.

        The REAL-ID Act does contain jurisdiction-stripping provisions, but only over final orders

of removal, requiring instead direct petitions for review. The purpose of the REAL-ID Act’s

jurisdiction-stripping provisions was to “consolidate judicial review of immigration proceedings

into one action in the court of appeals.” St. Cyr, 533 U.S. at 313. Indeed, the entire section is

focused on orders of removal and uncodified sections of the Act state that the legislation was

intended to apply only to “final administrative order[s] of removal, deportation, or exclusion.” 119

Stat. 231, 311 (quoted in notes to 8 U.S.C. §1252). “[T]he REAL-ID Act’s jurisdiction-stripping

provisions do not remove federal habeas jurisdiction over petitions that do not directly challenge

a final order of removal.” Trinidad y Garcia, 683 F.3d at 958 (Thomas, C.J., concurring)

(emphasis in original). Accordingly, the REAL-ID Act can readily be construed as being confined

to addressing final orders of removal in the immigration context without affecting federal habeas

jurisdiction. Trinidad y Garcia, 683 F.3d at 956; Nadarajah v. Gonzales, 443 F.3d 1069, 1076

(9th Cir. 2006). Given a plausible alternative statutory construction, the Court cannot conclude

that the REAL-ID Act actually operated to repeal the remedy of habeas corpus outside of a

challenge to a final order of removal, which is not at issue here. Aguasvivas v. Pompeo, 405 F.

Supp. 3d 347, 360 (D.R.I. 2019) (“[C]onsidering the Suspension Clause questions that would arise

if the Court construed the provision to divest it of habeas jurisdiction, the Court must find that [the




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REAL-ID Act] does not affect its habeas jurisdiction ‘to avoid such problems.’”) (quoting St. Cyr,

533 U.S. at 300).

       Nor does the rule of non-inquiry preclude review. Trinidad y Garcia, 683 F.3d at 956.

Even courts that have found judicial review of CAT or FARRA claims unavailable on other

grounds have held that the rule of non-inquiry does not deprive the courts of jurisdiction to review

the legality of the Secretary’s extradition decisions on habeas. See Mironescu, 480 F.3d at 670-7.

As explained in a lengthy discussion in one of the separate opinions in Trinidad y Garcia,

       [T]he judicially developed rule of non-inquiry was not developed in, and does not
       have direct application to, judicial enforcement of obligations imposed by statute
       upon executive officials. The rule bars judicial examination of extraditions once it
       is determined that they are not contrary to the Constitution, laws, or treaties of the
       United States. It does not hold that we must refrain from reviewing claims that an
       extradition is, in fact, unlawful.

Trinidad y Garcia, 683 F.3d at 996 (Berzon, C.J., concurring in part and dissenting in part).

       Accordingly, the Court has jurisdiction to review the lawfulness of the Under Secretary’s

decision to authorize the extradition of the Taylors.

       B.      The Deputy Secretary of State’s Decision to Extradite the Taylors to Japan
               Violates U.S. Treaty Obligations and the Taylors’ Constitutional Rights

       If the Taylors were extradited to Japan, they would then face a highly-flawed criminal-

justice system that lacks many of the basic protections the Taylors would be afforded in the United

States, such as a right to a speedy trial and the right to counsel during interrogations, while at the

same time subjecting the Taylors to a heightened risk of contracting COVID-19 (which would

almost certainly be life-threatening to Michael Taylor).




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          Although Japan is itself a modern democracy, its criminal-justice system appears more akin

to that of an authoritarian regime.3 Japan’s legal system allows prosecutors to detain people

without charge and subject them to relentless interrogation without the presence of defense counsel

until they confess or incriminate themselves, a system that is referred to as “hostage justice

(hitojichi-shiho).” Nearly 90% of defendants in criminal trials confess, according to the Japan

Federation of Bar Associations. Japan’s criminal-justice system has been ridiculed by Japanese

lawyers and academics, as well as observers around the world. Last year, more than 1,000

Japanese academics and lawyers wrote an open letter criticizing Japan’s criminal-justice system.4

The letter details a number of alarming practices:

             “The Code of Criminal Procedure of Japan allows suspects to be detained up to 23 days
              before indictment” during which time detainees face continuous interrogations where
              “investigators [] pressur[e] suspects to answer questions and confess to their alleged
              crimes.”5
             “It is not uncommon for suspects to be yelled at from close range [and] suspects are
              not allowed to have lawyers present during questioning.”6
             “The 23-day detention limit often has no substance, as investigators sometimes use
              arrest/detention powers for separate, minor crimes as an excuse to interrogate suspects
              about the main crime or split up consolidated crimes in order to detain suspects
              repeatedly for additional periods.”7
             “Even when the detainee is indicted and finally allowed to request bail, those who have
              not confessed or remained silent often have a harder time persuading a judge to approve
              their bail request[.]”8




3
  Cf. Alexander Solzhenitsyn, 1 The Gulag Archipelago 103-15 (HarperPerennial Ed. 2007)
(describing Stalin-era Soviet interrogation tactics, including lengthy questioning, yelling, physical
abuse, and sleep deprivation).
4
    Available at https://bit.ly/3iFGeXv.
5
    Id.
6
    Id.
7
    Id.
8
    Id.


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       The letter also describes some notable examples where Japan charged innocent people with

minor crimes, yet detained those who refused to confess for months or more than a year. It

concludes that these practices are systemic and violate “international human rights standards

including the presumption of innocence, the prevention of torture, and access to counsel during

questioning.”9

       Nobuo Gohara, a former prosecutor, expanded on these issues in international media. He

said: “‘The Japanese criminal justice system is focused on interrogation. The aim is getting a

confession …. A suspect who admits to the crime is released from imprisonment …. But if a

person refuses to admit to a crime, the prosecutor’s office will strongly oppose release until the

suspect makes a confession.’”10 It should thus come as no surprise that Japan’s conviction rate is

99.3%, a statistic that the Ministry of Justice itself not only confirms, but feels the need to explain

away.11

       These sorts of abuses have also been widely reported by non-governmental organizations

reviewing Japanese practices. In 2013, the United Nations Committee Against Torture issued a

report on the Japanese criminal-justice system, which concluded, among other things:12

       The State party’s justice system relies heavily on confessions in practice, which are
       often obtained while in the DaiyoKangoku [sic] without a lawyer present. The

9
  See also Kageyama, Yuri, Fugitive Ghosn brings global attention to Japanese justice (Jan. 9,
2020) (discussing several famous cases of wrongful convictions in Japan, including of foreign
nationals, and a true-life story of a man who refused to sign a confession in Japan that became a
popular movie depicting his five-year legal battle for exoneration), available at
https://bit.ly/3kGUiS4.
10
  Rupert Wingfield-Hayes, BBC, Carlos Ghosn and Japan's 'Hostage Justice' System (Dec. 31,
2019), available at https://bbc.in/33VyQCT.
11
  See Japan Ministry of Justice, Frequently Asked Questions on the Japanese Criminal Justice
System, available at https://bit.ly/2FdiyLq (last accessed Aug. 12, 2020).
12
   United Nations Committee Against Torture, Concluding Observations on the Second Periodic
Report of Japan, Adopted by the Committee at its Fiftieth Session (May 31, 2013), available at:
https://bit.ly/3iHbEMP.


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       Committee has received reports about ill-treatment while interrogated, such as
       beating, intimidation, sleep deprivation, and long periods of interrogations without
       breaks[.]

       Amnesty International made similar findings in its 2015 report:13

       The daiyo kangoku system, which allows police to detain suspects for up to 23 days
       prior to charge, continued to facilitate torture and other ill-treatment to extract
       confessions during interrogation. Despite recommendations from international
       bodies, no steps were taken to abolish or reform the system in line with international
       standards.

       These general practices by Japan, and worse, already have been employed in the

investigation and prosecution of Mr. Ghosn (who is being prosecuted by the same prosecutor who

is seeking, and supporting with declarations, the Taylors’ extradition). The Japanese initially

arrested Ghosn in November 2018, but repeatedly rearrested him on slightly different charges so

as to prolong his detention. Japan did not release Ghosn on bail until April 25, 2019. During his

five-month detention, Ghosn was kept in solitary confinement in a tiny cell while being allowed

outside for only 30 minutes a day, but then only on weekdays. Lights were left on around-the-

clock. Ghosn was “interrogated day and night,” sometimes for up to eight hours at a time and

continuing through weekends, Thanksgiving and Christmas—all without a lawyer present.14 As

Ghosn observed, “It’s not very difficult to come to the conclusion that you’re going to die in Japan


13
  See, e.g., Amnesty International, Amnesty International Report 2014/15 – Japan (Feb. 25, 2015),
available at https://bit.ly/3iAEMpg.
14
   Simon Denyer, Liz Sly and Asser Khattab, The Washington Post, Carlos Ghosn complains of
‘corrupt,’ ‘inhumane’ justice system in Japan in first public appearance since escape (Jan. 8,
2020), available at https://www.washingtonpost.com/world/carlos-ghosn-set-to-address-media-
as-his-lawyers-attack-nissan-for-perversion-of-truth/2020/01/08/d58cc948-3178-11ea-971b-
43bec3ff9860_story.html; Yuri Kageyama, Associated Press, Ghosn faced 7 hours a day of
questioning        in     Japan:      lawyer      (Jan.     12,      2020),      available     at
https://www.foxbusiness.com/money/ghosn-7-hours-a-day-questioning-japan-lawyer;           Kiyoshi
Takenaka & Mari Saito, Reuters, Austere Japan detention quarters contrast with Ghosn’s globe-
trotting lifestyle (Nov. 22, 2018), available at https://www.reuters.com/article/us-nissan-ghosn-
detention/austere-japan-detention-quarters-contrast-with-ghosns-globe-trotting-lifestyle-
idUSKCN1NR1CY?feedType=RSS&feedName=businessNews.


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or you have to get out.”15 Ghosn’s treatment, and the questionable nature of the charges against

him, produced widespread international criticism of Japan’s prosecution of Ghosn and its justice

system in general.16

           In addition, Ghosn’s co-defendant, an American former Nissan employee, Greg Kelly, was

subjected to similar treatment. Rather than use the U.S.-Japan Extradition Treaty, the Japanese

government tricked Mr. Kelly into travelling to Japan in November 2018, where he was then

arrested and subjected to five weeks of solitary confinement without a bed.17 His family reports

that he was in need of urgent neck surgery before traveling to Japan, which the Japanese

government was aware of, and yet delayed.18 The procedure was less effective by the time he was

finally allowed to have the surgery.19 While incarcerated, Mr. Kelly was interrogated for several

hours a day without legal counsel, and Japanese officials still will not permit him or his lawyer

access to evidence in electronic form.20 Mr. Kelly was eventually granted bail in December 2018,

and his criminal trial in Japan has only recently commenced.21 One of the conditions of his bail is


15
     Denyer, et al., supra n.14.
16
  See, e.g., Kyodo News, Macron repeatedly told Abe he saw Ghosn’s treatment as unsatisfactory
(Jan. 16, 2020), available at https://english.kyodonews.net/news/2020/01/4c5619c8b4b4-macron-
repeatedly-asked-abe-to-improve-treatment-of-carlos-ghosn.html.
17
   See Ex. I (Memo and Petition from the Kelly Family describing the horrors of his treatment by
Japan); Sen. Roger Wicker, Sen. Lamar Alexander & Sen. Marsha Blackburn, Greg Kelly: U.S.
Hostage of Japanese Justice (March 10, 2020), available at https://bit.ly/2PMWzgp; see also The
Japan Times, Ex-Nissan exec Greg Kelly fears odds of fair trial slimmer after Ghosn's flight (Jan
4, 2020), available at https://bit.ly/30Q9tRa; Kelly Petition to U.S. Dep’t of State, available at
https://bit.ly/2XX0ID7.
18
     Id.
19
     Id.
20
     Id.
21
  According to Mr. Kelly’s lawyer, James Wareham, “Greg Kelly has been caught up an effort to
remove Ghosn and get Renault out of a controlling position, [and] [t]o consummate the scheme,
they wanted a witness to be in their control under duress, and then they went so far as to break
international extradition law to make that happen.” The Detroit News, Emails: Ghosn takedown


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that he is not allowed to leave Japan; Mr. Kelly has not been able to return home for more than 18

months.

       In view of the above, even if permissible under 18 U.S.C. § 3184 and the U.S.-Japan

Extradition Treaty (which, as detailed infra, it is not), extraditing the Taylors to Japan in this case

would violate other U.S. treaty obligations. Article 3(1) of the CAT provides that “No State Party

shall … extradite a person to another State where there are substantial grounds for believing he

would be in danger of being subjected to torture.”          See also Foreign Affairs Reform and

Restructuring Act of 1998, Pub. L. 105-277, § 2242, 112 Stat. 2681, 2681-761, 2681-822

(implementing CAT and reiterating that it is “the policy of the United States not to expel, extradite,

or otherwise effect the involuntary return of any person to a country in which there are substantial

grounds for believing the person would be in danger of being subjected to torture”). Article 16 of

the CAT further prohibits “other cruel, inhuman or degrading treatment.”

       Further, Article 14 of the International Covenant on Civil and Political Rights (“ICCPR”)

provides that “everyone shall be entitled” to certain “minimum guarantees” in the determination

of any criminal charge, including “to communicate with counsel of his own choosing” (Art.

14(3)(b)) and “[n]ot to be compelled to testify against himself or to confess guilt” (Art. 14(3)(g)),

“[t]o be tried without undue delay” (Art. 14(3)(c)).22

       “Torture” within the meaning of the CAT includes “[a]ny act by which severe pain or

suffering, whether physical or mental, is intentionally inflicted on a person for such purposes as

obtaining from him or a third person information or a confession, punishing him for an act he or a



motivated by effort to stop Nissan, Renault integration (June 16, 2020), available at
https://bit.ly/2DXp1tv.
22
  International Covenant on Civil and Political Rights, opened for signature 19 Dec. 1966, art. 6,
para. 5, S. EXEC. DOC. E, 95–2, at 23 (1978), 999 U.N.T.S. 171, 175.


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third person has committed or is suspected of having committed ….” 22 C.F.R. § 95.1(b)(1).

Under U.S. law, “substantial grounds” under the CAT exist if “it is more likely than not that the

[person] would be” subjected to such treatment. 22 C.F.R. § 95.1(c).

       It is clear that Messrs. Ghosn and Kelly, and countless others, have been subjected to torture

and other cruel, inhuman or degrading treatment, including physical and mental suffering

(including beatings, sleep deprivation, and absurdly-protracted interrogation while being denied

access to lawyers and medical treatment) at the hands of Japanese law enforcement for the purpose

of extracting confessions. See, e.g., Guzman-Nunez v. Barr, 822 F. App’x 563, 566 (9th Cir. 2020)

(intentional denial of medical care as a form of punishment would be torture under CAT); Kang v.

Attorney Gen. of U.S., 611 F.3d 157, 165-67 (3d Cir. 2010) (sleep deprivation, bright lights,

extended periods of remaining in uncomfortable position, along with other severe mistreatment as

part of interrogation is torture). The same fate almost certainly awaits the Taylors.

       C.      The Court Should Order the State Department to Produce the Administrative
               Record or, At the Very Least, Require the State Department to Comply With
               Its Own Statutory and Regulatory Obligations

       As set forth in Section I.A supra, “CAT and its implementing regulations are binding

domestic law, which means that the Secretary of State must make a torture determination before

surrendering an extraditee who makes a CAT claim.” Trinidad y Garcia, 683 F.3d at 956

(emphasis in original). Before extradition can occur, the Secretary is thus required to have

“appropriate policy and legal offices review and analyze information relevant to the case” and

prepare “a recommendation to the Secretary as to whether or not to sign the surrender warrant,”

22 C.F.R. § 95.3(a), and the Secretary is then required to consider an extraditee’s torture claim and

find it not “more likely than not” that the extraditee will face torture. 22 C.F.R. § 95.2. Without

access to and review of the administrative record, neither Petitioners nor the Court can properly

evaluate (1) whether the required review, analysis and recommendation were made; (2) whether


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the Secretary, in fact, made the required (or any) determination upon consideration of the Taylors’

claims, or (3) whether any such determination, if made, was supported by the record and not

arbitrary, capricious or otherwise in violation of U.S. law.

       The government argues that the one-page letter from the Assistant Legal Advisor for Law

Enforcement and Intelligence is all the record that the State Department need produce. Dkt. 50 at

14. But a perfunctory, general and conclusory assertion of compliance is insufficient to permit

any meaningful review. Accordingly, courts have ordered the production of information by the

State Department necessary to permit review. See Trinidad y Garcia, 683 F.3d at 957 (holding

“[t]he record before us provides no evidence that the Secretary has complied with the procedure”

required by CAT and FARRA and remanding for provision of more); see also Mironescu v. Rice,

No. 1:05CV00683, 2006 WL 167981, at * (M.D.N.C. Jan. 20, 2006) (ordering production of

administrative record considered by Secretary with request to question of whether petitioner would

be subject to torture upon return to Romania), vacated by 480 F.3d 664 (4th Cir. 2007) (finding

judicial review foreclosed by FARRA).

       As detailed by Circuit Judge Berzon in his opinion in Trinidad y Garcia concurring in part

and dissenting in part from the majority opinion of the en banc Ninth Circuit, courts “have the

authority—and, indeed, the obligation—to review the Secretary of State’s determination and to

decide—under a standard highly deferential to the Secretary and procedures carefully tailored to

ensure the protection of the Secretary’s diplomatic concerns—whether it is more likely than not

that petitioners … will be tortured if extradited.” 683 F.3d at 986. A bare bones declaration

provides no opportunity to assess the sufficiency of the government’s evidence or its weighing of

the extraditee’s evidence against any other relevant evidence.        Substantive review of the

Secretary’s determination, however, “only strengthens our constitutional system of checks and




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balances, as well as the Great Writ of habeas corpus.” Trinidad y Garcia, 683 F.3d at 1008

(Pregerson, C.J., concurring in part and dissenting in part). But there can be no substantive review

of any kind, at any level of deference, if no record, explanation, or justification is provided by the

Secretary.

       The government contends that Ms. Johnson’s letter meets the requirements of Trinidad y

Garcia, but it does not. In that case, a majority of the en banc Ninth Circuit held that CAT and

FARRA required, at the very least, a declaration “signed by the Secretary or a senior official

properly designated by the Secretary” attesting “that she has complied with her obligations” under

the CAT and FARRA and the regulations thereunder, specifically that appropriate policy and legal

offices have made the required review, analysis and recommendation and the Secretary has

considered the extraditee’s torture claim and found it not “more likely than not” that the extraditee

will face torture. 683 F.3d at 957. Instead, all the State Department had provided was “a generic

declaration outlining the basics of how extradition operates at the Department and acknowledging

the Department’s obligations under the aforementioned treaty, statute and regulations,” but giving

no indication that the Department “had actually complied with those obligations.” Id. The en

banc Ninth Circuit found that insufficient and remanded the case to the district court.

       Here, Ms. Johnson’s letter is even more lacking than the declaration found insufficient in

Trinidad y Garcia. First, it is a letter from the Assistant Legal Advisor for Law Enforcement and

Intelligence. It is not an affidavit, declaration or certification of any kind, and it is not signed by

the Secretary or by an official to whom the Secretary’s extradition authority is properly delegated.

Further, all that the letter does is say that “the Deputy Secretary of State authorized the Taylors’

surrender to Japan,” state generally that “the Department carefully and thoroughly considers all

claims submitted by a fugitive,” and purport to “confirm that the decision to surrender the Taylors




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to Japan complies with applicable international obligations as well as domestic statutes and

regulations.” (Dkt. 47-1.)

        The first statement merely appears to identify the individual making the decision, which is

relevant only to the extent that it establishes that this is not the person making the statements set

forth in the letter.

        The second statement is merely a generalization, and an especially vague one at that. It

says nothing about anything the Secretary or Deputy Secretary actually did in the Taylors’ case;

indeed, it only purports to describe what “the Department” generally does in extradition cases.

This is even less informative than the generalizations the en banc Ninth Circuit found inadequate

in Trinidad y Garcia.

        The third statement is simply a generalized, conclusory statement. It is not accompanied

by any acknowledgement of the obligations at issue (which the State Department at least had done

in Trinidad y Garcia), much less any specific statement that appropriate policy and legal offices

have made the required review, analysis and recommendation and that the Secretary (or his

delegee) has performed the consideration and made the determination required by law.

        Accordingly, even if a declaration by the Secretary attesting the review, analysis and

recommendation and to his review and consideration of the Taylors’ claims and his determination

that they are not “more likely than not” to face torture if extradited to Japan were all that the CAT

and FARRA required, the State Department has not done even that.

II.     THE U.S.-JAPAN EXTRADITION TREATY DOES NOT AUTHORIZE THE
        TAYLORS’ EXTRADITION TO JAPAN

        The decisions by both the Deputy Secretary of State and Judge Cabell that Japan’s request

for the Taylors’ extradition falls within the scope of the U.S.-Japan Extradition Treaty are incorrect

because no probable cause exists that the Taylors committed an extraditable offense. As the



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Taylors detailed in their submissions to Judge Cabell (Case No. 4:20-mj-01069, Dkt. 17, 28, &

49), Japan’s request is premised upon a novel and unprecedented expansion of Article 103 that is

articulated, if at all, by implication and inference in the applications for warrants for the Taylors’

arrest. Neither Taylor has been formally charged with a violation of Article 103, or any other

offense. Unlike the U.S., current Japanese law does not make it a crime for a defendant to jump

bail or for someone to assist in bail jumping. To get around this, Japan argues the Taylors

committed the offense of “Harboring of Criminals” by assisting Mr. Ghosn to leave Japan and

thereby “escape” trial on the charges against him. This theory of the offense, however, is contrary

to the plain language of Article 103 and the entirety of the history of prosecutions and accumulated

case law thereunder. Article 103 previously has only been applied to conduct involving working

against law enforcement’s active pursuit of a criminal to arrest him. But there was no warrant for

Mr. Ghosn’s arrest and no one was looking for him.

       A.      The Taylors May Challenge Judge Cabell’s Decision Through the Instant
               Habeas Petition

       The government alleges that the Taylors’ habeas petition is “untimely” because they have

filed it after, rather than before, the Department of State’s extradition decision. While it may be

that habeas corpus petitions challenging a magistrate judge’s certification order typically are filed

before the Secretary of State renders an extradition decision, there is no statute, rule, or other basis

that requires that this be so. In Venckiene v. United States, 929 F.3d 843 (7th Cir. 2019), the

Seventh Circuit recently confirmed that “we are not aware of a statute or precedent barring

consideration of a habeas corpus petition filed after the Secretary of State’s decision” and took no

issue with a habeas petitioner simultaneously challenging both the magistrate judge’s certification

order and the Secretary’s decision in the same habeas petition. Id. at 854. The district court

decision in the Venckiene case (which the Seventh Circuit affirmed) specifically rejected an



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argument by the government that any challenge to the magistrate judge’s decision was moot once

the Secretary of State made his decision. Venckiene v. United States, 328 F. Supp. 3d 845, 862-

64 (N.D. Ill. 2018); see also De La Rosa Pena v. Daniels, No. 13 C 708, 2015 WL 13730935 (E.D.

Tex. Dec. 11, 2015) (considering habeas petition challenging magistrate judge’s certification

ruling after Secretary issued its ruling).

        Accordingly, the Taylors’ petition is not untimely or otherwise procedurally improper.

        B.      The Taylors Did Not Commit an Extraditable Offense Under Then-Existing
                Japanese Law

        Japan’s extradition request is premised upon a novel and unprecedented expansion of the

scope of Article 103 of the Japanese Penal Code that is articulated, if at all, by implication and

inference in the applications for warrants for the Taylors’ arrest. As translated into English, Article

103 of the Japanese Penal Code states a criminal offense entitled “Harboring of Criminals” and

provides as follows:

        A person who harbors or enables the escape of another person who has either
        committed a crime punishable with a fine or greater punishment or has escaped
        from confinement shall be punished by imprisonment with work for not more than
        3 years or a fine of not more than 300,000 yen.

Ex. A at EX-Taylor, M.-00030; see also Ex. B at EX-Taylor, P.-00030.

        As Dr. William B. Cleary, a noted law professor at Hiroshima Shudo University in

Hiroshima, Japan, explains in his declaration, “[w]hile this English translation uses two verbs—

‘harbors or enables the escape of another’—to describe the operative conduct, the original

Japanese text in fact employs a single verb—蔵匿, or ‘inpi.’” Ex. E (Second Supp. Cleary Decl.)

¶ 5. This is the concept reflected in the very title of the Article 103 offense, “Harboring of

Criminals.” As Dr. Cleary explains, 蔵匿, or “inpi” comprises “a single concept that describes

working against law enforcement authorities’ active pursuit of a criminal to arrest him.” Id.



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(emphasis added). Though translated (alternatively) as “enabling the escape” of a person who has

committed a crime, 蔵匿, or “inpi,” is a distinct and different concept from the word 逃走, or

“toso,” which is also translated into English as “escape.” This word, “toso,” is the subject of

different crimes, specifically Articles 97 (“Escape”) and 98 (“Aggravated Escape”), and “has a

very specific meaning in that it refers to escape from a place of physical confinement, such as a

jail, prison or detention center.” Ex. E ¶¶ 6, 8. “Toso” only appears in Article 103 in the portion

of the statute identifying a person who “has escaped from confinement” as an individual whom

one may not harbor, i.e., 蔵匿, or “inpi.”

       The facts alleged in support of the arrest warrants (and the U.S. Government’s allegations

in the complaints seeking extradition) assert that the Taylors assisted Mr. Ghosn to escape (逃走,

or “toso”) from Japan in violation of the conditions of his release on bail pending trial on certain

alleged financial crimes relating to his tenure as CEO of Nissan. The theory appears to be that by

assisting Ghosn in departing Japan when leaving the country was a violation of his bail conditions,

the Taylors committed the act of harboring (蔵匿, or “inpi”) a person who had committed a crime.

       Article 103 has never been applied in this fashion before. Although there are presently

legislative efforts to change the law, violating bail conditions, or “bail jumping,” is not a crime

under current Japanese law. Neither is there a Penal Code provision that prohibits assisting another

person in violating his or her bail conditions. Although Articles 97 and 98 prohibit escape and

Article 103 prohibits one from harboring another who has escaped, the word used in each of those

provisions (逃走, or “toso”) references an escape from physical confinement in a jail, prison or

some kind of detention facility. Mr. Ghosn was not so confined, and Japanese law has never before

recognized release on bail as a form of confinement from which one may escape (逃走, or “toso”).




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        Yet this is precisely what the factual bases for the arrest warrant applications allege that

the Taylors did—enabling Mr. Ghosn to escape (逃走, or “toso”) by departing Japan in violation

of his bail conditions. However, consistent with the meaning of the different term it employs (蔵

匿, or “inpi”), Article 103 consistently has been interpreted and applied to criminalize working

against law enforcement authorities’ active pursuit of a criminal to arrest him. Thus, while the

courts have held Article 103 is violated where one assists a fugitive to evade apprehension by the

police where they are fleeing the scene of a crime, they have escaped from confinement, or there

is a warrant for their arrest (either initially or after they have violated their bail conditions and their

arrest is again sought), Japanese courts have never sanctioned (and prosecutors have never even

attempted) a charge under Article 103 premised solely upon an allegation that one assisted or

enabled a person to violate his or her bail conditions. Indeed, the case law does not reveal a single

instance where Article 103 has ever been applied absent the factual circumstance of an active

effort, at the time of the offense, by law enforcement to apprehend the person allegedly

harbored. There was no warrant for Ghosn’s arrest at the time of the Taylors’ alleged actions, and

Japanese authorities were not seeking to apprehend him until after Ghosn had returned to Lebanon

and parted with the Taylors.

        Indeed, the materials accompanying Japan’s extradition request make clear that Japanese

law enforcement authorities were investigating suspected violations of the Immigration Control

and Refugee Recognition Act by Ghosn, and the Taylors’ assistance in such violations, not a

suspected violation of Article 103. Because the immigration offenses are misdemeanors for which

extradition is not available,23 the prosecutor in the Ghosn case has sought to construct a theory of



23
  An offense is only extraditable if it is “punishable by the laws of both Contracting Parties … by
deprivation of liberty for a period of more than one year.” Treaty, Art. II § 1.


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an Article 103 violation as a means to obtain extradition of the Taylors. But that charge is wholly

unprecedented in Japanese law.

       Under the Treaty, extradition may be certified only where “the request for extradition …

is accompanied by … such evidence as would provide probable cause to suspect, according to the

laws of the requested Party, that the person sought has committed the offense for which extradition

is requested.” Treaty, Art. VIII, § 3. To meet that requirement, the Japanese government must

provide “evidence which would warrant a man of reasonable caution in the belief that [an

extraditable offense] has been committed.” See, e.g., Wong Sun v. United States, 371 U.S. 471,

479 (1963) (quotation and citation omitted). The Taylors are not subject to extradition because

the statute that Japan claims the Taylors violated—Article 103—is inapplicable, even if all the

alleged facts were true. It is not a crime in Japan for an individual to violate his bail conditions

(bail jumping). Therefore, logic would dictate that it is also not a crime to assist someone in doing

something that is not a crime as well. And, as stated above, the misdemeanor immigration offenses

cited in the arrest warrants themselves are not extraditable offenses.

       Extraditing the Taylors thus would violate the Treaty. DOJ and the Japanese government

have specifically said that the basis of extradition was the alleged violation of Article 103. Ex. A

at EX-Taylor, M.-00030. But as Mr. Watanabe (the Japanese prosecutor) admits, the Taylors have

not been charged with violating Article 103 in Japan. Ex. E (Second Supp. Watanabe Decl.) ¶ 6.

Nor could Japan charge the Taylors; neither bail jumping, nor aiding bail jumping, are crimes

under Japanese law. Ex. C (Cleary Decl.) ¶¶ 10, 14. Japan has never prosecuted any of its own

citizens or anyone else, including Ghosn, for “escaping” bail conditions under either Articles 97

or Article 98, or any other provisions, and neither DOJ nor the Japanese government has argued




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that what Ghosn did in violating his bail conditions was a crime under Japanese law.24

Recognizing this fact, the Japanese government has been scrambling to criminalize bail jumping.

On March 6, 2020, referring to Ghosn’s departure from Japan, the Japanese Minister of Justice

told the legislature’s Legal Committee that the Ministry had “recently consulted with the Legal

Council on the establishment of criminal law to [address] the escape of these persons.” Ex. F,

Remarks of Minister of Justice Mori to Legal Committee (3/6/2020). She continued, “[i]n the

future, based on the results of the deliberation, we will proceed with the necessary legislation.” Id.

Thereafter, on June 15, 2020, a committee of the Japanese Ministry of Justice met to discuss “the

establishment of new penalties for [] escape … [while] on bail.” Ex. G, Jiji Press, Start of Debate

on Escape Prevention Measures (6/15/2020); see also Ex. H, Jomo News, First Meeting to Prevent

Escape During Legal Bail (6/15/2020). Allowing Japan to prosecute the Taylors when Ghosn

could not himself be prosecuted is incongruous and patently unjust.

       Again, “the Japanese government has never attempted to apply Article 103 to any situation

involving violation of bail conditions.” Id. ¶ 13 (emphasis added); see also Ex. D (Supp. Cleary

Decl.) ¶ 8 (“[T]his prosecution is unprecedented.”). That is because Article 103 only criminalizes

“working against law enforcement authorities’ active pursuit of a criminal to arrest him.” Ex. E

(Second Supp. Cleary Decl.) ¶ 5. Put another way, a person can only violate Article 103 during

two periods relating to the “subject” of the escape: (1) when the subject is being pursued by police,

such as after committing the original offense, and (2) if the subject escapes from confinement.

There is no provision criminalizing the current situation, where Ghosn was not being pursued by

the police because he was released on bail. Japan’s putative prosecution of the Taylors under



24
   Ex. C ¶ 10; see also, e.g., Ex. G, Jiji Press, Start of Debate on Escape Prevention Measures
(6/15/2020) (“The current criminal law, ‘flight offenses,’ targets inmates in prisons. For this
reason, it does not apply when in bail such as Ghosn.”).


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Article 103 amounts to an attempt to take conduct that is widely-recognized as not constituting a

crime, and repackage it as a violation of a previously-inapplicable statute taking advantage of the

use of the word “escape” in the English translation to refer to both of two very different and distinct

Japanese terms. It is up to the Japanese legislature—and not a creative and embarrassed Japanese

prosecutor, and certainly not the U.S. government—to repair what is an obvious gap under

Japanese law.

       Japanese scholars and practitioners reviewing this case agree that the Taylors did not

commit a crime. One article reported, for example: “Helping someone jump bail isn’t a crime in

Japan … said Yunhai Wang, a professor of criminal law at Hitotsubashi University graduate school

in Tokyo. Nobuo Gohara, a former prosecutor and a vocal critic of Japan’s criminal-justice system,

concurred[.]”     Robert Burnson, Bloomberg Law, Ghosn Alleged Escape Accomplices Deny

Committing a Crime (June 9, 2020), available at https://bit.ly/30POwWr. Moreover, over several

months, the Taylors repeatedly cited the novelty of Japan’s interpretation during the judicial

proceedings. Yet, the Japanese government could not find even one analogous case.

       As these facts reveal, the simple truth is that the facts alleged establish, at most, probable

cause that the Taylors committed non-extraditable immigration offenses.             But Japan seeks

extradition for a different offense, one which has no precedent in Japanese law, has not been

articulated in an indictment, information, criminal complaint or other formal charging instrument,

and is only asserted vaguely and by inference (without even citing the specific Penal Code

provision the Japanese prosecutor posits the Taylors violated) in an application for a now-expired

arrest warrant.




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       C.      Judge Cabell Erroneously Deferred to the Japanese Government’s Allegations
               and Failed to Consider the Taylors’ Contrary Evidence

       The government argues that Judge Cabell’s ruling means the Taylors are unlikely to

succeed on their claims based on a record that the government only imagines exists. The

government wants to pretend that this Court can quickly dispense with this petition, claiming that

“[f]our of the five counts in the Petition (Counts II-V) have previously been considered and

rejected by Judge Cabell at the certification stage, as well as by this Court in the context of the

Taylors’ first habeas petition and motion for injunctive relief.” Dkt. 50 at 3. But the actual record

reflects something different.

       This Court’s prior rulings were preliminary, decided in the context of whether to grant an

injunction, before the matter was fully briefed before Judge Cabell. This Court’s prior decisions

paved the way for that more fulsome record to be created before Judge Cabell to rule upon at the

merits stage. While the government understandably wants to state that all the issues have been

decided in front of Judge Cabell in its favor, his decision failed to reach the merits of the Taylors’

arguments at all by instead deferring conclusively to Japan. Thus, the issue before the Court now

is not whether Judge Cabell appropriately balanced the weight of both sides’ arguments in reaching

his decision; that is not even something that Judge Cabell attempted to do. Rather, the threshold

issue before this Court is whether Judge Cabell appropriately gave conclusive weight to the views

of the foreign government seeking extradition.

       Respectfully, Judge Cabell cannot be correct because such deference would render judicial

review a meaningless exercise in the extradition context, where a foreign government always will

argue that someone is prosecutable under its law, and it would strip U.S. citizens of their right to

have their constitutional rights protected by Article III courts. The Taylors deserved a meaningful

hearing. The Taylors created a record that demonstrated that their alleged conduct does not fall



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under the literal language of the Japanese statute in question, and demonstrated that no similar case

had ever been so much as prosecuted in Japan over the long history of the statute. It should go

without saying that U.S. courts should be careful not to subject U.S. citizens to prosecution abroad

for alleged foreign crimes that the foreign government does not pursue against its own citizens.

       But “[d]espite strong urging,” Judge Cabell expressly “decline[d] to consider the

respondents’ arguments” because “[e]ven assuming an extradition court has both the authority to

resolve disputed issues of foreign law, and the hopeful belief it could do so competently, that does

not mean it should.” Cabell Op. at 9. Instead, Judge Cabell refused to consider the Taylors’

evidence of Japanese law at all, and only relied on the general proposition that the Japanese

prosecutor seeking the Taylors’ extradition believes the Taylors’ acts fit the crime—at which point

his own substantive analysis of the probable cause question stopped in favor of complete deference

to that proposition. Judge Cabell may have pointed to a paraphrasing of the English translation of

the statute and summarily declared that he thought the Taylors’ conduct qualified, see Cabell Op.

at 8-9, but not only is this flatly wrong, he then concedes that he did not even consider the Taylors’

evidence of what the statute actually means. Id. at 10. And although Judge Cabell cites the

government’s evidence of the statute’s meaning as though he assessed its “reasonable[ness],” he

could obviously not have fairly done so without considering the Taylors’ counter-evidence, and

regardless, he then admitted to simply “defer[ing] to the foreign country’s interpretation.” Id.25

Accordingly, the government is wrong to assert that “[t]he only relevant question on extradition

habeas review is whether ‘any evidence’ supports Judge Cabell’s probable-cause finding … and


25
  Of course, what Judge Cabell means by “country” is the Japanese prosecutor who brought the
case against and then lost Ghosn and is seeking the Taylors’ extradition for something that has
never been a crime in Japan in order to save face—not the Japanese legal scholars or the Taylors’
experts on Japanese law that disagree with him or the Japanese legislators currently amending the
law after-the-fact to criminalize what the Taylors did. See Dkt. 38 at 19, n.13.


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the record is replete with such evidence” because Judge Cabell did not consider that evidence in

making his decision. Id. at 18.

       All parties agree that Judge Cabell was obligated to find that the facts in the record support

a finding of probable cause that the Taylors committed a crime, a standard governed by their Fourth

Amendment rights. See Dkt. 50 at 3; Cabell Op. at 3, 6. Judge Cabell could not possibly have met

this standard without applying the law to the facts, and while the government insists that the

extradition context is unique, complete deference as Judge Cabell afforded yields no finding of

probable cause at all—simply a rubber stamp by the federal judiciary based on a mere assertion by

foreign authorities that may have any number of improper motives for seeking extradition of

American citizens.

       The Fourth Amendment is fully applicable in extradition proceedings, and its probable

cause standard cannot be met by simply conclusively presuming that the government’s allegations

are correct.26 It is well-settled that the Executive Branch has no authority to extradite a U.S. citizen

absent a treaty, because “the Constitution creates no executive prerogative to dispose of the liberty

of the individual.” Valentine v. United States ex rel. Neidecker, 299 U.S. 5, 9 (1936). Moreover,

the Supreme Court has clarified that the Treaty Power cannot be used to restrict an individual’s

constitutional rights. See, e.g., Reid v. Covert, 354 U.S. 1, 16-17 (1957). So, if neither Congress

nor the Executive Branch could have abrogated the Taylors’ Fourth Amendment rights not to be

extradited absent probable cause, the Taylors went before Judge Cabell with their full Fourth

Amendment liberty interests intact.27 There is no watered-down variant of the Fourth Amendment

for extradition proceedings.


26
  See Dkt. 38 at 16 n.9.
27
  To be sure, extradition case law is a bit of a mess with inconsistent decisions and some that treat
a U.S. citizen as no more than a pawn to be exchanged among sovereigns. But Valentine confirms


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       And Judge Cabell agreed that he “applies the same standard of probable cause in

international extradition hearings as used in preliminary hearings, in federal criminal proceedings.”

Cabell Op. at 6. This is not just because 18 U.S.C. § 3184 so provides, but also because the federal

judiciary exercises its authority under Article III in the extradition context, as evidenced by its

authority to effectuate treaties and refuse Executive Branch requests to extradite even before the

Extradition Act was passed. See United States v. Lawrence, 3 U.S. (3 Dall.) 42, 53 (1795).28 Judge



that the Executive Branch has no power to extradite absent a treaty, and Reid confirms that the
Treaty Power cannot be used to strip U.S. citizens of their constitutional rights. U.S. courts are
exercising their Article III judicial power in deciding whether Fourth Amendment requirements
have been met and, since the Warren Era, the Supreme Court has more fully spelled out what these
rights entail than was the case when the Supreme Court previously addressed many of these
extradition issues. It is time for extradition law to catch up. Despite some unfortunate language
in some opinions, other contemporaneous cases highlighted the need to protect constitutional rights
in this context. See, e.g., Grin v. Shine, 187 U.S. 181, 184 (1902) (holding that extradition “treaties
should be faithfully observed, and interpreted with a view to fulfill our just obligations to other
powers, without sacrificing the legal or constitutional rights of the accused”). The Supreme Court
has said that extradition proceedings are “of a criminal nature.” Rice v. Ames, 180 U.S. 371, 374
(1901); see also United States v. Doherty, 786 F.2d 491, 500 (2d Cir. 1986) (Friendly, J.) (“[T]he
Supreme Court and we have referred to [extradition proceedings] as being of a criminal nature.”).
The Supreme Court also noted that extradition proceedings “assimilate very closely those ... for
the arrest and detention of an alleged criminal.” In re Strauss, 197 U.S. 324, 333 (1905). More
recently, the United States acknowledged in briefs before the D.C. Circuit that “[e]xtradition
proceedings ... are quasi-criminal rather than civil.” Supplemental Brief for the Appellants at 11,
Lobue v. Christopher, 82 F.3d 1081 (D.C. Cir. 1996) (Nos. 95-5293, 95-5315). The United States
stated that “Section 3184 functionally grants the extradition judge exactly the same judicial power
that a judicial officer exercises with respect to authorizing an arrest or making a preliminary
determination of probable cause.” Brief in Support of the United States Motion to Dismiss, or, in
the Alternative, for Summary Judgment, at 20, Lobue v. Christopher, 893 F. Supp. 65 (D.D.C.
1995) (No. 95-1097). “[T]he extradition judge does not exercise ‘executive’ authority as that
concept is used in connection with separation of powers.” Id. Rather, the United States argued
that “the extradition statute assigns judicial duties to judicial officers, who exercise judicial powers
in their execution. These judicial powers, moreover, are recognized as the same judicial powers
exercised in authorizing arrests and finding probable cause.” Id. at 21.
28
   Even before the first Extradition Act was passed in 1848, Presidents recognized the need to
utilize courts to issue arrest warrants in the extradition context, rather than proceed by executive
order, and federal judges found Article III of the Constitution self-executing in giving them
authority to effectuate extradition treaties. See, e.g., In re Rob[b]ins, 27 F. Cas. 825, 826-27, 832-
33 (D.S.C. 1799). Federal courts recognized that the involvement of federal judges in issuing
arrest warrants was one of constitutional necessity. In re Metzger, 17 F. Cas. 232, 233 (S.D.N.Y.


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Cabell was therefore tasked under Article III with protecting the Taylors’ constitutional rights and

cannot have abdicated this role to any extent in deference to another authority.

       In no other context would courts conclusively presume that any government—foreign or

domestic—had accurately defined the scope of a criminal offense. The opposite is true. The

Supreme Court has repeatedly made clear that the Constitution is designed to limit the power of

the government over U.S. citizens, and that principle would be turned on its head if courts were to

presume that the government necessarily and is always interpreting those statutes correctly. Courts

exist to play referee, not to entrust the foxes with guarding the hen houses. The government’s

claim of “trust us” is never good enough where constitutional rights are at stake. See, e.g.,

Marinello v. United States, 138 S. Ct. 1101, 1109 (2018); McDonnell v. United States, 136 S. Ct.

2355, 2372-73 (2016); United States v. Stevens, 559 U.S. 460, 480 (2010).

       Given the Taylors’ constitutional rights and Judge Cabell’s role as an officer of the federal

judiciary, deference to foreign legal authorities on the substance of foreign law should be minimal,

if ever, warranted in today’s world where access to foreign legal resources and authorities is a

matter of a few mouse clicks.29 But to use such deference to curtail the evidence that may be



1847); see Christopher D. Man, Extradition and Article III: A Historical Examination of “the
Judicial Power of the United States,” 10 Tul. J. Int’l & Comp. L. 37 (2002) (analyzing early
extradition law to show the need for judicial involvement); M. Cherif Bassiouni, International
Extradition: United States Law and Practice 67 (3d rev. ed. 1996) (“During that period [from 1794-
1848], the proponents of the view that extradition treaties are self-executing prevailed and
extradition proceedings were adjudicated by federal district courts on request of the President or
the Secretary of State.”).
29
   If the federal courts are equipped to hear expert testimony on some of the most technical and
context-specific subject matter imaginable, such as in certain patent cases where the dispute often
hinges on the specific meaning of a term in a unique, scientific context, surely they can hear
competing expert testimony regarding a linguistically- or culturally-based dispute regarding a
term’s meaning—particularly at a time when issues in foreign law may be easily researched and
when constitutional rights of American citizens are on the line. See Dkt. 38 at 12; Animal Sci.
Prod., Inc. v. Hebei Welcome Pharm. Co., 138 S. Ct. 1865, 1869 (2018). The older extradition
cases involving deference reflect an earlier era when deciding questions of foreign law were more


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considered, as did Judge Cabell, is to limit the Taylors’ substantive rights to a full and fair

consideration of whether the facts alleged fit the crime asserted.30

       While no one faults U.S. courts for seeking to avoid offending foreign sovereigns, that is

not a constitutional value. Protecting the liberty interests of U.S. citizens against being removed

from their homes to be prosecuted in foreign lands without the government meeting its burden to

establish probable cause is such a constitutional value. Foreign prosecutors, like American

prosecutors, are entitled to courtesy; but the Court should not concern themselves with hurt

feelings where either ask for relief that does not square constitutional corners. A conclusive

presumption that foreign governments are right not only diminishes the rights of the accused, but

of the judges who must engage in what would become sham hearings where a federal judge is

reduced to a rubber stamp. There must be more for a federal judge to do than ask whether the

foreign government seeking the extradition of a U.S. citizen really means it when they claim the

U.S. citizen violated its law.

       In short, this Court should do what Judge Cabell did not do and consider the merits of the

Taylor’s contentions that the factual allegations made against them fail to state a violation of

Japanese law. While no one would expect this Court to be an expert of Japanese criminal law or




difficult than they are now. They certainly do not—and constitutionally cannot—reflect that where
foreign governments want U.S. courts to approve stripping U.S. citizens of their liberty in the
extradition context, Article III courts are to give conclusive deference to foreign governments and
submit to their demands.
30
   Judge Cabell cites Matter of Extradition of Lui, 939 F. Supp. 934, 949 (D. Mass. 1996), for the
proposition that “comity and common sense” suggest that the “foreign judicial officer should be
presumed to be more knowledgeable than the judicial officer in the United States about the foreign
law.” Cabell Op. at 10. Maybe so in a general sense. American judges are seldom experts on
every topic that comes before them, which is why they typically require legal briefings from both
sides so that they can better understand and decide legal issues for themselves. Judge Cabell
received such briefings here but chose to depart from the judicial process by refusing to consider
the arguments of one side and giving conclusive deference to the other.


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a host of other issues that may come before it, the Court is surely experienced in reviewing legal

issues with the benefit of briefing from both sides. If the Court considers the merits of the Taylors’

arguments, based on this now expanded record, the Court should have no difficulty in concluding

that the government has not met its burden of establishing probable cause.

                                          CONCLUSION

       For the reasons set forth above and in their previous submissions to this Court and to Judge

Cabell, Petitioners Michael and Peter Taylor respectfully request that the Court grant their Verified

Second Emergency Petition for Habeas Corpus Pursuant to 28 U.S.C. § 2241 and Injunctive Relief

(Dkt. 47) and order their immediate release from custody.

Dated: November 4, 2020                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, Paul V. Kelly, counsel for Petitioners Michael and Peter Taylor, hereby certify that on

November 4, 2020, I served a copy of the foregoing on all registered parties by electronic filing

on ECF.

                                                            /s/ Paul V. Kelly
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